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 3                                UNITED STATES DISTRICT COURT
 4                                  FOR THE DISTRICT OF NEVADA
 5

 6    HARRY GINGOLD, MONIQUE GINGOLD,
      NAHAL KEDUMIM, LLC, their successors               Case No: 3:19-cv-00532-MMD-CLB
 7    and their assignees, inclusive,
 8                             Plaintiffs,               ORDER GRANTING MOTION FOR
                                                         ATTORNEY’S FEES
 9       VS .

10    ITRONICS INC., its successors and its
      assignees; and JOHN W. WHITNEY,
11    individually,
12                             Defendants.
13
                Pursuant to this Court’s Minute Order in Chambers filed on March 11, 2022 [ ECF 62 ] ,
14
     this Court grants Plaintiffs’ Motion for Attorney’s Fees in the sum of $16,970.00.
15
                DATED THIS 17th         day of March 2022.
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18                                                  MIRANDA M. DU
                                                    CHIEF UNITED STATES DISTRICT JUDGE
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